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UNITED STATES DISTRICT COURT for the
WESTERN DISTRICT OF NEW YORK

 

TURF NATION, INC.,
Plaintiff,

Civil Action No.: l :l7-cv-00534
vs.

PLATTE RIVER INSURANCE COMPANY,

Defendant.

 

 

CIVIL ACTION - NOTICE OF REMOVAL

 

Defendant Platte River Insurance Cornpany (“Platte River”), a corporation of the State of
Nebraska maintaining its principal place of business at 1600 Middleton Commons, Suite 300
Middleton, Wisconsin, and authorized to issue surety bonds Within the State of New York,
hereby files this Notice of Removal of the above-described action to the United States District
Court for the Western Distn`ct of New York, from the Supreme Court of the State of New York,
County of Erie, Where the action is now pending, and respectfully states:

l. This action involves the alleged entitlement to payment as a third-party
beneficiary of a payment bond issued by Platte River on behalf of UBU Sports, lnc. as principal,
Payment Bond Number 41328330 (“Payment Bond”) in connection With a contract between
UBU Sports, Inc. and the County of Erie for Ralph Wilson Stadium 2016 - Adpro Field House

Artiiicial Playing Surface Replacement, Project No. JZ-16-04.

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2. Upon information and belief, Plaintiff Turf Nation, lnc. is a Delaware corporation
with a principal place of business located at 3525 Old Dixie Highway, Dalton, Georgia and
therefore is a citizen of the States of Delaware and/or Georgia within the meaning and intent of
28 U.S.C. § 1332.

JURISDICTION AND VENUE

3. Platte River is an insurance company organized and existing under the laws of the
State of Wisconsin, and maintains its principal place of business at 1600 Middleton Commons,
Suite 300, Middleton, Wisconsin. Platte River is a citizen of the State of Wisconsin within the
meaning and intent of28 U.S.C. § 1332.

4. At the time of filing of the Complaint and this Removal Petition, there exists
complete diversity of citizenship between Plaintiff and Platte River.

5 . The Court maintains jurisdiction over this contract action pursuant to 28 U.S.C. §
1332, as the amount in controversy exceeds $75,000.00, and Platte River and the Plaintiff are
citizens of different states.

6. Venue is proper in the United States District Court, Westem District of New
York, among other venues, as it is a judicial district where the cause of action arose.

7. On or about May 12, 2017, Plaintiff commenced an action in the Supreme Court,
County of Erie, State of New York, by filing a Summons and Complaint with the Clerk of said
Court. A copy of the Summons and Complaint is attached hereto as Exhibit “A” and made a part
hereof.

8. On or about May l7, 2017, Platte River was served with a copy of the Summons
and Complaint by service upon the Superintendent of Financial Services. This Notice of

Removal is filed within thirty days of service of the Complaint upon the defendant as required by

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28 U.S.C. §l446(b). A copy of the affidavit of service is attached hereto as Exhibit “B” and
made a part hereof.

9. Pursuant to CPLR § 31 l(a)(l), Platte River’s time to serve an answer or otherwise
appear has not yet expired

10. Upon information and belief, and as it appears from the Complaint Plaintiff seeks
recovery of at least $144,555.49.

ll. By reason of the foregoing, this action may be removed to this Court by the
defendant pursuant to 28 U.S.C. § l44l.

l2. A copy of all process, pleadings, and orders served upon defendant is annexed
and filed with this notice. To date, the only documents in the state court action which Plaintiff
served upon Platte River is the Summons and Complaint and Notice of Commencement of
Action Subj ect to Mandatory Electronic Filing.

l3. Pursuant to 28 U.S.C. § l446(d), Platte River has provided written notice of the
filing of this notice to counsel for plaintiff, who is the only other party to this action. An affidavit
of service of this Notice of Removal, complete with all attachments, was filed
contemporaneously with this Court.

l4. A copy of this Notice of Removal will be electronically filed with the Clerk of the
Supreme Court of the State of New York, County of Erie, as required by 28 U.S.C. § l446(d),

under Erie County Index Number 806341/2017.

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WHEREFORE, defendant requests that this action now pending in the Supreme Court

of the State of New York, County of Erie, be removed to this Court.

Dated: Rochester, New York

TO:

June l4, 2017

GETMAN & BIRYLA, LLP
Seth L. Hibbert, Esq.
Attorneysfor Plaz`nlz`]jf

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STATE OF NEW YORK )
) SS:
COUNTY OF MONROE )

STEPHANIE J. DIFELICE, being duly Sworn, deposes and says that she resides in the
Town of Penfield; that she is over eighteen years of age; that she is a Legal Assistant with the
law firm of McElroy, Deutsch, Mulvaney & Carpenter, LLP, attorneys for Platte River
Insurance Company, that on the 14th day of June, 2017 before 5:00 p.m., in the City of
Rochester, County of Mom'oe, and State of New York, deponent served a true copy of a Notice
of Removal and Civil Cover Sheet, enclosed in a prepaid, properly addressed envelope on each
of the following attorneys (or parties) at the address set forth after said attorney’S (or party’s)
name, that being the address designated by said attorney (or party) for that purposes, by causing
same to be delivered to a U.S. Postal Service depository located in Rochester, NeW York,
addressed to:

Seth L. Hibbert, Esq.

GETMAN & BIRYLA, LLP
800 Rand Building

14 Lafayette Square

Buffalo, New York 14203-1995

and further caused an electronic copy to be filed via NYSCEF and CM-ECF.
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Swom to before me this
f‘~f day ofJune, 2017

 

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